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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                  WAYCROSS DIVISION

PATRICIA NELSON,

   Plaintiff,

-vs-                                               CASE NO.: 5:17-CV-148

COMENITY, LLC,

   Defendant.
                                      /

                NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       COMES NOW the Plaintiff, PATRICIA NELSON, by and through her undersigned

attorneys, hereby gives Notice to the Court of a Credit Card Account Agreement (“Agreement”),

which contains an arbitration provision which governs the matters at issue in this action. Pursuant

to that Agreement, the parties are to submit to arbitration upon demand by either party. The parties

have agreed to arbitrate this matter, and therefore Plaintiff hereby files this Notice of Voluntary

Dismissal without Prejudice, of the above captioned matter.

                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2017, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system.

                                               /s/Octavio Gomez
                                               Octavio “Tav” Gomez, Esquire
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